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                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

                                                      CASE NO.


DAVID WALLACE,

                  Plaintiff,

vs.

CAREFREE SHADOWWOOD LLC

               Defendant
_________________________________/


            COMPLAINT AND DEMAND FOR JURY TRIAL
                (INJUNCTIVE RELIEF SOUGHT)

      COME NOW Plaintiff DAVID WALLACE by and through

undersigned      counsel,      and   sue   the   Defendant,     CAREFREE

SHADOWWOOD LLC and states as follows:


                      I. NATURE OF THE ACTION

1.    This is a civil action brought pursuant to the federal Fair

Housing Act [“FHA”], 42 U.S.C. §§ 3601, et seq., and 42 U.S.C. § 1982

for damages and injuries arising from the Defendant’s unlawful

discrimination against Plaintiff DAVID WALLACE, a person with

disabilities. The Defendant CAREFREE SHADOWWOOD LLC violated
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the FHA by making a dwelling unavailable because of DAVID

WALLACE’s disability related need to live with his assistance animal

for emotional support and failing to grant him a reasonable

accommodation.

                              II. PARTIES

2.   Plaintiff DAVID WALLACE, a resident and citizen of Sarasota

County, Florida, is an individual with disabilities that qualify him for

the protections of the FHA.

3.   WALLACE resides at 3901 Bahia Vista Street, Lot No. 10,

Sarasota, Florida 34232 in the “Bahia Vista Estates” community.

4.   Defendant      CAREFREE        SHADOWWOOD            LLC     [hereafter

“SHADOWWOOD”] is a foreign limited liability corporation whose

principal and primary mailing addresses are 27777 Franklin Road,

Suite 200, Southfield, MI 40834.

5.   SHADOWWOD owns real property located at 3901 Bahia Vista

Street, Sarasota, Florida 34232

6.   SHADOWWOOD sets, approves and enforces the policies, rules,

regulations and practices for the Bahia Vista Estates community.

7.   The lots within the Bahia Vista Estates community are

“dwellings” within the meaning of 42 U.S.C. § 3602(b) of the FHA.

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8.    SHADOWWOOD is subject to the anti-discrimination provisions

of the FHA.

                    III. JURISDICTION AND VENUE

9.    This Court has original jurisdiction pursuant to 28 U.S.C. §§

1331 and 1343, 42 U.S.C. § §§ 3601, et seq., and 42 U.S.C. § 3613.

10.   Venue in this Court is proper pursuant to 28 U.S.C. § 1391(b)

because the parties reside in this District and the events giving rise

to the Plaintiff’s claims arose in Sarasota County which is within the

Tampa Division of the Middle District of Florida.

11.   All conditions precedent to the bringing of this action by Plaintiff

have occurred, or their performance has been waived by Defendant.

                      IV. FACTUAL ALLEGATIONS

12.   At all times material hereto, WALLACE suffered from, had a

history of suffering from and still suffers from mental impairments

that substantially limit one or more of his major life activities,

including     depression      and    serious     emotional     disturbance.

Accordingly, WALLACE has a “handicap” pursuant to 42 U.S.C. §

3602(h), FHA.

13.   WALLACE relies upon an assistance animal, a small mixed

breed dog named “Zena.”

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14.    Zena weighs approximately 15 lbs.

15.    Zena assists WALLACE in coping with his disabilities by

providing     companionship       and       emotional   support   that   helps

ameliorate the symptoms of WALLACE’s disability.

16.    Zena is not a pet.

17.    WALLACE moved to Bahia Vista Estates in 2015.

18.    In April of 2022 Zena was attacked and injured by an unleashed

dog within the community.

19.    The dog that attacked Zena was owned by Allison Smith.

20.    Allison Smith was directed by SHADOWWOOD to rehome her

dog.

21.    Allison Smith has not reimbursed WALLACE for the expenses

he incurred in providing veterinary care to Zena after Zena was

injured by Allison Smith’s dog.

22.    Tensions between Allison Smith and WALLACE developed

because Allison Smith had to rehome her dog and because of the

unreimbursed veterinary expenses.

23.    On August 19, 2022, WALLACE had an argument with Allison

Smith regarding the veterinary expenses.



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24.   AS the exchange became very heated, WALLACE accidently

dropped Zena’s leash, and Zena and a another, different dog

belonging to Allison Smith had an altercation.

25.   Allison Smith was scratched by one of the two dogs while

attempting to separate the dogs.

26.   Allison Smith’s scratch required no medical attention.

27.   On August 31, 2022 WALLACE was sent a Statutory Notice to

Cure demanding that WALLACE remove Zena within 7 days.

28.   At no time did anyone associated with SHADOWWOOD

interview WALLACE to obtain his side of the story regarding the

August 19, 2022, incident.

29.   At no time did anyone associated with SHADOWWOOD

interview George Fiala, a SHADOWWOOD resident that observed the

August 19, 2022 altercation between the two dogs.

30.   Despite being aware of Zena’s status as an emotional support

animal, SHADOWWOOD did not conduct an individual evaluation

regarding whether ZENA poses a direct threat to other residents or

their property.

31.   Assuming arguendo that Zena actually poses any threat to

other residents and/or their pets, despite being aware of Zena’s

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status as an emotional support animal, SHADOWWOOD did not

explore whether there were measures such as muzzling Zena or

designating an alternative walking area that could be taken to allow

WALLACE to remain in the Bahia Vista Estates community with

ZENA.

32.   On or about September 1, 2022 WALLACE’s brother Jack

Wallace sent a letter to Defendant asking that ZENA be allowed to

stay and reiterating that Zena is an emotional support animal for

WALLACE, and pointing out that Zena was walked in the

neighborhood on a daily basis without incident for years. Jack

Wallace also informed SHADOWWOOD that Zena would be kept

exclusively on WALLACE’s property in the future. Jack Wallace’s

letter is marked, attached hereto and incorporated by reference as

Exhibit A.

33.   Jack Wallace also indicated in his correspondence that

WALLACE was devastated at the prospect of losing Zena and in the

future would not go anyplace near Allison Smith’s property and

would avoid her at all costs.




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34.   Jack Wallace’s letter thanked Defendant in advance for its

consideration and provided his phone number in case Defendant

wished to discuss the matter with him further.

35.   SHADOWWOOD did not respond to Jack Wallace’s request that

Zena be allowed to remain at SHADOWWOOD as WALLACE’s

emotional support animal.

36.   On September 19, 2022 WALLACE was hospitalized and Zena

was removed from Bahia Vista Estates.

37.   As of the date of this filing Zena is not residing at Bahia Vista

Estates.

38.   Nonetheless, on or about September 30, 2022 SHADOWWOOD

caused a Statutory Thirty (30) Day Notice to Vacate posted on

WALLACE’s       dwelling    informing     WALLACE      that   his   lease   is

terminated and he has 30 days to vacate his home.

39.   At all times relevant to this Complaint, SHADOWWOOD had

actual knowledge of WALLACE’s disability and his need to reside with

Zena for disability-related support.

40.   SHADOWWOOD never evaluated, nor made any effort to

evaluate, whether Zena truly posed a substantial threat to other

residents and/or their pets, and, if she did, whether any such risk

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could be effectively managed so that WALLACE would not be forced

to choose between his home and the assistance animal WALLACE

needs to manage the symptoms of his disabilities.

41.   SHADOWWOOD made WALLACE’s dwelling in Bahia Vista

Estates unavailable to him by forcing him to chose between his home

and his assistance animal and serving WALLACE a Statutory Thirty

(30) Day Notice to Vacate.

42.   WALLACE         has    been      injured     by    SHADOWWOOD’s

discriminatory housing practices and therefore WALLACE is an

"aggrieved person" pursuant to 42 U.S.C. § 3602(i), FHA.

43.   Plaintiff has retained undersigned counsel and is obligated to

pay a reasonable fee for her services.

44.   As a direct and proximate result of SHADOWWOOD’s conduct,

WALLACE has incurred and continues to incur attorney’s fees, and

has suffered and continues to suffer irreparable loss and injury

including, but not limited to, mental anguish, loss of dignity,

emotional distress, humiliation, and loss of his right to equal housing

opportunities regardless of disability.

                            V. CAUSES OF ACTION

                                     COUNT I

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           MAKING A DWELLING UNAVAILABLE BECAUSE OF
                           HANDICAP

     45.   WALLACE      re-alleges       and   incorporate   by   reference

Paragraphs 1-44 as if fully set forth herein.

     46.   WALLACE requires the ability to live with his emotional

support animal, Zena, in order to have the same opportunity to enjoy

his dwelling at Bahia Vista Estates as any non-disabled resident.

     47.   Zena does not pose a significant threat to other residents

of Bahia Vista Estates or their property.

     48.   SHADOWWOOD, fully knowing of WALLACE’S disability-

related need to live with Zena, nonetheless commanded WALLACE to

remove his assistance animal, and subsequently served WALLACE

an eviction notice based solely upon Zena’s presence.

     49.   SHADOWWOOD failed to make an individual assessment

of WALLACE’s assistance animal to determine whether Zena truly

posed a significant threat, much less any threat.

     50.   SHADOWWOOD failed to explore less drastic alternatives

than removing the Zena from the community.

     51.   The foregoing conduct and acts of SHADOWWOOD

constitute discrimination against a person with a disability in


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violation of 42 U.S.C. § 3604(f)(1)(A), FHA, by making a dwelling

unavailable because of a handicap.

     52.   As a result of the SHADOWWOOD’s conduct, WALLACE

has suffered damages.

     53.   The    discriminatory      conduct     and/or      actions     of

SHADOWWOOD were intentional, willful, and taken in blatant

disregard for WALLACE’s rights.



     WHEREFORE, Plaintiff DAVID WALLACE demands a judgment

against CAREFREE SHADOWWOOD LLC declaring that the actions

of Defendant CAREFREE SHADOWWOOD LLC violated the FHA by

discriminating against a person with disabilities and awarding

Plaintiff DAVID WALLACE compensatory and punitive damages, and

his attorney’s fees and costs, as well as any other such relief as this

Court deems just and equitable.

                               COUNT II
                      FAILURE TO ACCOMMODATE


     54.   WALLACE      re-alleges    and   incorporate     by   reference

Paragraphs 1-44 as if fully set forth herein.



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     55.      The FHA places an affirmative duty on housing providers

to "to make reasonable accommodations in rules, policies, practices,

or services, when such accommodations may be necessary to afford

such person equal opportunity to use and enjoy a dwelling." 42

U.S.C. §3604(f)(3)(B).

     56.      WALLACE requires the ability to live with his emotional

support animal, Zena, in order to have the same opportunity to enjoy

his dwelling at Bahia Vista Estates as any non-disabled resident.

     57.      WALLACE’s brother Jack Wallace asked SHADOWWOOD

to reconsider the demand that WALLACE remove his emotional

support animal.

     58.      Jack Wallace proposed mitigative measures that would

ensure there were no future encounters between Allison Smith and

WALLACE or Zena and Allison Smith’s dog, including restricting

Zena exclusively to WALLACE’s property.

     59.      SHADOWWOOD did not acknowledge Jack Wallace’s

request that SHADOWWOOD reconsider the edict that Zena be

removed from SHADOWWOOD in order to accommodate WALLACE’s

disability.



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     60.     SHADOWWOOD had actual knowledge of WALLACE’s

disability and disability related need to reside with ZENA for

emotional support.

     61.     SHADOWWOOD had a legal obligation to meaningfully

review the request that WALLACE’s disability-related need to live

with his assistance animal ZENA be accommodated.

     62.     SHADOWWOOD made no effort to engage in a good faith

dialogue with WALLACE or his brother Jack Wallace regarding

WALLACE’s request for reasonable accommodation.

     63.     Accommodating WALLACE’S need to reside with his

assistance    animal    would    not        pose   an   undue   financial   or

administrative burden on SHADOWWOOD.

     64.     Accommodating WALLACE’s need to reside with his

assistance animal would not fundamentally alter the nature of

SHADOWWOOD’S operations.

     65.     SHADOWWOOD’S actions and conduct constitute a

conscious and reckless disregard for WALLACE's rights and show

total indifference for his disability.

     66.     The foregoing conduct and acts of Defendant constitute

discrimination against a person with a disability in violation of 42

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U.S.C.§ 3604(f)(3)(B), FHA, by failing to and/or by refusing to make

reasonable accommodations in its rules, policies, practices, or

services, when such accommodations are necessary to afford

WALLACE an equal opportunity to use and enjoy his dwelling.

     67.   As a result of the SHADOWWOOD’S conduct, WALLACE

has suffered damages.

     68.   The     discriminatory        conduct    and      actions      of

SHADOWWOOD were intentional, willful, and taken in blatant

disregard for WALLACE’S rights.

     69.   As a direct and proximate result of SHADOWWOOD’S

failure to accommodate, WALLACE has suffered irreparable loss and

injury including, but not limited to, mental anguish, loss of dignity,

emotional distress, humiliation, and loss of his right to equal housing

opportunities regardless of disability.

     WHEREFORE, Plaintiff, DAVID WALLACE, demands judgment

against Defendant, CAREFREE SHADOWWOOD LLC declaring that

the actions of violated, inter alia, the FHA by discriminating against

a person with a disability, and awarding Plaintiff compensatory and

punitive damages and his attorneys' fees and costs, as well as any

other such relief as this Court deems just and equitable.

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                    VI. PRAYER FOR RELIEF

    WHEREFORE, Plaintiff DAVID WALLACE demands judgment

against Defendant CAREFREE SHADOWWOOD LLC, which:

      a) declares that CAREFREE SHADOWWOOD LLC’s actions

         violated the FHA by discriminating against a person with

         disabilities;

      b) enjoins     CAREFREE           SHADOWWOOD           LLC     from

         discriminating against WALLACE by evicting him or

         forcing removal of his assistance animal from his home;

      c) awards WALLACE compensatory damages as would fully

         compensate him for CAREFREE SHADOWWOOD LLC’s

         discriminatory conduct;

      d) awards WALLACE his attorney’s costs and fees incurred

         in bringing this action to enforce the FHA;

      e) awards WALLACE punitive damages sufficient to punish

         Defendant CAREFREE SHADOWWOOD LLC for its actions

         that were willful, wanton, and malicious, or in reckless

         disregard for WALLACE’s rights; and



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       f) grants any other such relief as this Court deems just and

          equitable.

                  VII. DEMAND FOR JURY TRIAL

     Plaintiff demands a jury trial for all issues so triable.




Respectfully submitted this 11th day of October, 2022.


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